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         Exhibit J
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                                                       Exhibit J - U.S. Patent No. 11,176,538

 Claim No.                  Apple Pay-, Apple Wallet-, and/or Apple Cash Enabled Computing Device
 19[Pre]: A method of       An Apple Pay-, Apple Wallet, and/or Apple Cash-enabled computing device performs an online payment transaction.
 performing an online
 payment transaction, the
 method comprising:




                            See, e.g., Apple Pay, Apple, https://www.apple.com/apple-pay/; Devices compatible with Apple Pay, Apple (Sept. 24, 2024),
                            https://support.apple.com/en-us/102896; Abby Ferguson, How to set up Apple Pay, Popular Sci. (May 12, 2024 3:04 PM EDT),
                            https://www.popsci.com/diy/how-to-set-up-apple-pay/ (“[The Wallet app] is pre-installed on Apple devices, so you won’t need
                            to install it first.”).




                            See, e.g., How to make purchases with Apple Card, Apple (Sept 18, 2024), https://support.apple.com/en-us/104951.




                            See, e.g., Use your virtual card number for Apple Cash (Sept. 26, 2024), https://support.apple.com/en-us/119943.
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                            See, e.g., Lance Whitney, How to Send Money to Friends (or Request They Pay Up) With Apple Cash, PCMag (Aug. 15, 2024),
                            https://www.pcmag.com/how-to/use-apple-cash-send-request-money.
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 Claim No.                         Apple Pay-, Apple Wallet-, and/or Apple Cash Enabled Computing Device
 19[a]: receiving an input         An Apple Pay-, Apple Wallet, and/or Apple Cash -enabled computing device receives an input signal at an electronic device,
 signal at an electronic device,   the input signal corresponding to a request for payment of an online payment transaction by said electronic device, via a
 the input signal                  wireless interface of the electronic device; displays the payment request notification at a touch-screen display user-interface of
 corresponding to a request for    the electronic device; upon an authorizing of a valid device user, displays at least one user-selectable payment account option,
 payment of an online              and requesting a user approval of payment, via the touch-screen display user-interface; and receives, from a valid device user, a
 payment transaction by said       payment selection and authorization approval input on the electronic device.
 electronic device, via a
 wireless interface of the
 electronic device;

 19[b] a displaying of the
 payment request notification
 at a touch-screen display
 user-interface of the
 electronic device; and,

 19[c]: upon an authorizing of
 a valid device user,
 displaying at least one user-
 selectable payment account
 option, and requesting a user
 approval of payment, via the
 touch-screen display user-
 interface;

 19[d] receiving, from a valid
 device user, a payment
 selection and authorization
 approval input on the
 electronic device;

                                   See, e.g., Make purchases using Apple Pay, Apple (Sept. 24, 2024), https://support.apple.com/en-us/102626.
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                            See, e.g., Apple, Apple Pay Merchant Integration Guide at 3 (Jan. 2024) available at http://developer.apple.com/apple-
                            pay/Apple-Pay-Merchant-Integration-Guide.pdf; Get started with Apple Pay on the Web, Apple Developer,
                            https://developer.apple.com/videos/play/tech-talks/111381/.




                            See, e.g., 9to5Mac, iOS 17.4 – 30+ New Changes and Features, YouTube (Feb. 28, 2024), https://www.youtube.com/
                            watch?v=wT5osIMpyuQ&t=635s.
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 Claim No.                  Apple Pay-, Apple Wallet-, and/or Apple Cash Enabled Computing Device




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                            See, e.g., Lance Whitney, How to Send Money to Friends (or Request They Pay Up) With Apple Cash, PCMag (Aug. 15, 2024),
                            https://www.pcmag.com/how-to/use-apple-cash-send-request-money; Sharing Files with AirDrop on iPhone or iPad, Apple
                            Device Support Tutorials, https://it-training.apple.com/tutorials/support/sup050/ (“AirDrop uses Bluetooth to discover nearby
                            devices and Wi-Fi to transfer data between devices. If the devices leave Bluetooth or Wi-Fi range of each other after you initiate
                            an AirDrop transfer, the transfer can continue over the internet.”).
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 Claim No.                        Apple Pay-, Apple Wallet-, and/or Apple Cash Enabled Computing Device
 19[e] generating at least one    An Apple Pay-, Apple Wallet, and/or Apple Cash-enabled computing device generates at least one limited-use numbers at said
 limited-use numbers at said      electronic device, and using said limited-use number in place of at least a portion of selected account issuer payment
 electronic device, and using     information.
 said limited-use number in
 place of at least a portion of
                                                                                                                  [. . .]
 selected account issuer
 payment information; and




                                  See, e.g., Apple Pay security and privacy overview, Apple (Oct. 8, 2024), https://support.apple.com/en-us/101554; Apple
                                  Platform Security, Payment authorization with Apple Pay, Apple (Feb. 18, 2021), https://support.apple.com/guide/security/
                                  payment-authorization-with-apple-pay-secc1f57e189/web.




                                  See, e.g., Use Advanced Fraud Protection with Apple Card, Apple (Jan. 10, 2024), https://support.apple.com/en-us/102427.




                                  See, e.g., Glenn Fleishman, How to pay even more safely with Apple Cash, Macworld (Apr. 12, 2024),
                                  https://www.macworld.com/article/2270855/safely-use-apple-cash.html.
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 Claim No.                       Apple Pay-, Apple Wallet-, and/or Apple Cash Enabled Computing Device
 19[f] combining said at least   An Apple Pay-, Apple Wallet, and/or Apple Cash-enabled computing device combines said at least one limited-use numbers,
 one limited-use numbers,        with said selected account information, to form a complete payment information.
 with said selected account
 information, to form a
 complete payment
 information; and,




                                                                                                                                             [. . .]




                                                                                                              [. . .]
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                            See, e.g., Payment token format reference, Apple Developer, https://developer.apple.com/documentation/
                            passkit_apple_pay_and_wallet/apple_pay/payment_token_format_reference; PKPayment, Apple Developer,
                            https://developer.apple.com/documentation/passkit_apple_pay_and_wallet/pkpayment.




                            See, e.g., Glenn Fleishman, How to pay even more safely with Apple Cash, Macworld (Apr. 12, 2024),
                            https://www.macworld.com/article/2270855/safely-use-apple-cash.html; Filipe Espósito, iOS 16 to add virtual cards support in
                            Safari for online shopping, 9to5MAC (Jul. 6, 2022, 12:25 pm PT), https://9to5mac.com/2022/07/06/ios-16-virtual-cards-
                            support-safari/.
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 Claim No.                         Apple Pay-, Apple Wallet-, and/or Apple Cash Enabled Computing Device
 19[g] wherein the receiving       An Apple Pay-, Apple Wallet, and/or Apple Cash-enabled computing device, when receiving a user payment approval
 of a user payment approval        authorization through the user-interface, displays on said display at least a portion of information comprising: the payment
 authorization through the         request, the merchant, the amount, and the transaction information; and receives a user input providing for at least one
 user-interface of the             transaction authorization actions, from a set of actions including: approving a transaction, denying a transaction, selecting a user
 electronic device, is             information, a payment amount adjustment, and selecting a transaction payment method.
 comprising a displaying on
 said display at least a portion
 of information comprising:
 the payment request, the
 merchant, the amount, and the
 transaction information; and,

 19[h] receiving a user input
 providing for at least one
 transaction authorization
 actions, from a set of actions
 including: approving a
 transaction, denying a
 transaction, selecting a user
 information, a payment
 amount adjustment, and
 selecting a transaction
 payment method; and,



                                   See, e.g., Apple, Apple Pay Merchant Integration Guide at 3 (Jan. 2024) available at http://developer.apple.com/apple-pay/
                                   Apple-Pay-Merchant-Integration-Guide.pdf; Get started with Apple Pay on the Web, Apple Developer,
                                   https://developer.apple.com/videos/play/tech-talks/111381/.
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 Claim No.                  Apple Pay-, Apple Wallet-, and/or Apple Cash Enabled Computing Device

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 Claim No.                  Apple Pay-, Apple Wallet-, and/or Apple Cash Enabled Computing Device
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                            See, e.g., Lance Whitney, How to Send Money to Friends (or Request They Pay Up) With Apple Cash, PCMag (Aug. 15, 2024),
                            https://www.pcmag.com/how-to/use-apple-cash-send-request-money.
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                                See, e.g., 9to5Mac, iOS 17.4 – 30+ New Changes and Features, YouTube (Feb. 28, 2024),
                                https://www.youtube.com/watch?v=wT5osIMpyuQ&t=635s.
 19[i] on receiving said user   An Apple Pay-, Apple Wallet, and/or Apple Cash-enabled computing device, on receiving said user payment approval
 payment approval               authorization input, transmits by the wireless interface of the approved complete payment information for the online transaction.
 authorization input, a
 transmitting by the wireless
 interface of the approved
 complete payment
 information for the online
 transaction.




                                See, e.g., Apple, Apple Pay Merchant Integration Guide at 5 (Jan. 2024) available at http://developer.apple.com/apple-
                                pay/Apple-Pay-Merchant-Integration-Guide.pdf; Get started with Apple Pay on the Web, Apple Developer,
                                https://developer.apple.com/videos/play/tech-talks/111381/.
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                            See, e.g., How to make purchases with Apple Card, Apple (Sept. 18, 2024), https://support.apple.com/en-us/104951.




                            See, e.g., Use your virtual card number for Apple Cash (Sept. 26, 2024), https://support.apple.com/en-us/119943.
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                            See, e.g., Lance Whitney, How to Send Money to Friends (or Request They Pay Up) With Apple Cash, PCMag (Aug. 15, 2024),
                            https://www.pcmag.com/how-to/use-apple-cash-send-request-money.
